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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
PACIFIC MARITIME ASSOCIATION               )
                                           )
                                           ) Case No. 1:12-cv-01477-BAH
                  Plaintiff,               ) Judge Beryl A. Howell
                                           )
                                           )
      v.                                   )
                                           )
                                           )
NATIONAL LABOR RELATIONS BOARD             )
                                           )
                                           )
                  Defendant.               )
__________________________________________)


                 PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Plaintiff Pacific Maritime

Association (“PMA”), by and through undersigned counsel, respectfully moves this Court to

enter summary judgment in Plaintiff’s favor. The grounds for this motion are set forth in the

accompanying memorandum of points and authorities. In accordance with LCvR 7(c), a

proposed Order is attached.

       Further, pursuant to LCvR 7(f), Plaintiff requests an oral hearing on this motion.


Dated: October 16, 2012

                                                    Respectfully submitted,


                                                    /s/ Howard M. Radzely
                                                    MORGAN, LEWIS & BOCKIUS LLP
                                                    Howard M. Radzely (D.C. Bar #437957)
                                                    Charles I. Cohen (D.C. Bar #284893)
                                                    David R. Broderdorf (D.C. Bar #984847)
                                                    1111 Pennsylvania Avenue, NW
                                                    Washington, D.C. 20004
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                                 (202) 739-5996

                                 Counsel for PACIFIC MARITIME
                                 ASSOCIATION
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                  IN THE UNITED STATES DISTRICT COURT
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                  Plaintiff,               ) Judge Beryl A. Howell
                                           )
                                           )
      v.                                   )
                                           )
                                           )
NATIONAL LABOR RELATIONS BOARD             )
                                           )
                                           )
                  Defendant.               )
__________________________________________)

                                     PROPOSED ORDER

       After considering Plaintiff’s Motion for Summary Judgment, Memorandum of Points and

Authorities in Support of Plaintiff’s Motion for Summary Judgment, any Memorandum of Points

and Authorities in Opposition to Plaintiff’s Motion for Summary Judgment, and all other

relevant papers, pleadings, and related attachments,

       IT IS HEREBY ORDERED:

       (1) that the Motion is GRANTED, with summary judgment entered in favor of Plaintiff,

       (2) the decision of the National Labor Relations Board in International Brotherhood of

Electrical Workers, Local 48, 358 NLRB No. 102 (Aug. 13, 2012) is hereby DECLARED null

and void.

       (3) Defendant, its agents, employees, successors, and all other persons are ENJOINED

from enforcing, applying, or implementing (or requiring others to enforce, apply, or implement)

the decision in IBEW, Local 48, 358 NLRB No. 102 (Aug. 13, 2012).
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SO ORDERED this ___ day of ______, 2012.

                                                  _____________________________
                                                  Honorable Beryl A. Howell
                                                  United States District Judge
